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                   IN THE UNITED STATES DISTRICT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KEITH ROBINSON                          )
                                        )
             Plaintiff,                 )
                                        )     Civil Action File No.
v.                                      )     1:15-CV-04401-TWT
                                        )
PARC COMMUNITIES,                       )     JURY TRIAL DEMANDED
ALPHARETTA, LLC                         )
(d/b/a PARC SENIOR                      )
COMMUNITIES, LLLP)                      )
                                        )
             Defendant.                 )

      ORDER APPROVING SETTLEMENT AND DISMISSING CASE

      THIS MATTER is before the Court upon the parties’ Joint Motion To

Approve Settlement Agreement. The Court having reviewed the Motion and being

fully advised in the premises, it is hereby

      ORDERED AND ADJUDGED as follows:

1.    The Joint Motion to Approve Settlement Agreement is GRANTED.

2.    The Court finds that the agreed-upon terms and conditions of settlement of

this litigation arising under the Fair Labor Standards Act, as set forth in the

Settlement Agreement, are fair and reasonable under the circumstances, and the

Settlement Agreement is hereby APPROVED.

3.    This cause is hereby DISMISSED without prejudice, with costs and fees to

be paid pursuant to the terms of the Settlement Agreement.
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          DONE AND ORDERED in Chambers at Atlanta, Georgia, this 22nd day

of April, 2016.



                                        /s/Thomas W. Thrash
                                        Thomas W. Thrash, Jr.
                                        Judge, U. S. District Court




4830-1018-0398, v. 1
